HERBERT W. HOOVER, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Hoover v. CommissionerDocket No. 90974.United States Board of Tax Appeals42 B.T.A. 289; 1940 BTA LEXIS 1022; June 28, 1940, Promulgated *1022  1.  INCOME - TRUSTS. - Petitioner created five separate trusts, one each for the benefit of his wife and his four children, each containing a so-called "year and a day" provision.  Thereafter, he twice modified those trusts and extended their operation for certain definite periods, the first extension being for approximately five years and the second extension being for approximately six years, provided he was living at the time of the expiration of such periods.  In the trust instruments as operative, during the taxable year, petitioner retained to himself as an individual the power to control investments of the corpus, to vote all stock held by the trusts, and to appoint a new trustee at any time in lieu of the trustee named in the trust instruments.  Held, that during the year 1934 the petitioner continued to be the owner of the corpus of the five trusts for the purposes of section 22(a) of the Revenue Act of 1934 and that the income therefrom is taxable to him, with the exception of the income of certain portions of the corpus of two of the trusts, which the beneficiaries thereunder had the right to, and did, withdraw prior to January 1, 1938, when the trusts would terminate*1023  if the petitioner was then living.  2.  Certain income from two "income trusts" created by petitioner for the benefit of his two minor children, during the taxable year, was expended under the provisions of the trust instruments for their support and maintenance.  Held, that the amount of the income so expended is taxable to petitioner.  Albert B. Arbaugh, Esq., Homer E. Black, Esq., Paul E. Shorb, Esq., and M. P. Wormhoudt, Esq., for the petitioner.  Paul A. Sebastian, Esq., and W. W. Kerr, Esq., for the respondent.  TYSON *289  The respondent has determined an income tax deficiency of $48,534.27, for the year ended December 31, 1934.  The petitioner assigns as error: (1) The respondent's determination that the income of certain trusts created by petitioner is taxable to him under sections 166 and 167 of the Revenue Act of 1934, (2) the respondent's disallowance of a deduction of $2,500 for a loss alleged to have been sustained during the taxable year on certain stock, and (3) the respondent's refusal to allow a credit for refund of an overpayment of $987.04 on account of an alleged stock loss.  No proof has been adduced as to*1024  the second and third assignments of error, which were denied by respondent, and they will be treated as having been abandoned by petitioner.  The determination of the respondent as to these second and third assignments of error is therefore approved.  The proceeding was originally submitted upon a stipulation of facts pertaining solely to the first assignment of error and a memorandum *290  opinion of this Board was entered on August 16, 1939.  Thereafter, petitioner filed a motion to reconsider and set aside that opinion.  While the motion was pending and after argument thereon this Board issued an order setting down the motion for further argument on March 27, 1940, in view of the decisions in the cases of Helvering v. Clifford,309 U.S. 331"&gt;309 U.S. 331, and Helvering v. Wood,309 U.S. 344"&gt;309 U.S. 344 (both decided February 26, 1940).  On March 27, 1940, the motion to reconsider and set aside the memorandum opinion was granted.  On that date also a motion by petitioner to enlarge the record on the question of whether or not the income from certain trusts hereinafter mentioned was taxable to petitioner under the provisions of section 22(a) of the Revenue*1025  Act of 1934 was granted.  Upon the granting of the latter motion a stipulation of additional facts was submitted in enlargement of the record.  FINDINGS OF FACT.  The stipulations of fact, both the original and that submitted by way of enlargement of the record, are adopted as our findings of fact and included herein by reference.  Only such of these facts as are deemed necessary to a consideration of the issues involved will be set forth herein.  Petitioner is a resident of North Canton, Ohio, where he provided and maintained a home for himself and his family throughout the taxable year 1934.  During that time he was a man of considerable estate and substantial income.  He filed his income tax return for the year in question with the collector of internal revenue for the eighteenth district of Ohio, at Cleveland, Ohio.  On September 5, 1923, petitioner under a written instrument transferred certain preferred and common stock in the Hoover Co. to the Geo. D. Harter Bank, in trust, for the benefit of his wife, Grace L. Hoover.  That trust, designated No. 111, as subsequently extended, modified, and altered by other written instruments hereinafter mentioned, has continued in*1026  force up to and throughout the taxable year.  The original trust instrument of September 5, 1923, provided, inter alia, that the "entire net income of said Trust Estate shall be paid to my wife Grace L. Hoover for and during the term of her natural life", with remainders on her death, in equal shares of the corpus, to trusts created for the benefit of petitioner's four children, or, in certain contingencies, to those children themselves or their lineal descendants.  The original trust instrument gave the trustee power to determine whether property coming into its hands was to be treated as principal or income.  It also gave the trustee board powers to manage, invest, and reinvest the trust property as if it were the sole owner thereof, *291  subject however to the trustor's reserved right to instruct the trustee as to any change in investments and also to his reserved "right or proxy to vote or direct the voting of the stock covered by this Trusteeship at any and all meetings of the stockholders." The original trust instrument also provided that the beneficiaries should have no right to alienate or encumber any of their interests in the trust estate or income until*1027  actually distributed to them and that neither the interest of the beneficiaries in the corpus nor income of the trust was to be liable in any way for the debts of the beneficiaries.  There was also an exculpatory clause protecting the trustee against any loss or damage to the trust, save only that occasioned by its "own neglect or wilful default." The original trust instrument contained a provision for a so-called "year and a day" trust to the effect that the trust should be "irrevocable during and throughout the remainder of the calendar year 1923, and all of the calendar year 1924, and * * * during and throughout each calendar year thereafter, unless between the 1st and 31st days of December in 1924, or any subsequent year, the same shall by the Trustor, * * * be revoked, such revocation to be effective on and after the 1st day of January next succeeding, or unless said Trustor shall between said 1st and 31st days of December of any year, * * * revoke, alter or modify this trust or any of the terms hereof for the next succeeding and/or subsequent calendar year or years, * * *.  To whatever extent this Declaration of Trust shall be so revoked, altered or modified, the Trustee shall*1028  thereupon transfer and deliver to the Trustor such part or all of the trust property then in the hands of the Trustee as may have been withdrawn under such revocation or modification, * * *." On December 28, 1929, the original trust trust instrument was modified so as to continue its operation irrevocably until all its terms were carried out unless the trustor was living on January 1, 1934, in which event the trust should then terminate and the principal be delivered to the trustor unless the trustor during 1933 gave notice to the trustee that the trust should not terminate.  Also in this modification of December 28, 1929, petitioner reserved the right to, at any time, change the trustee and there was inserted in the modification a provision that if the United States Internal Revenue Department should succeed at any time in taxing against the trustor any income of the trust, the trustee should pay from the income or principal of the trust such tax and interest thereon.  The modification also provided that the trustee should make loans of money, at the request of and with the approval of the trustor, from the trust estate to the trustor, his wife, children, or grandchildren.  On*1029  May 18, 1932, the trustor gave notice to the trustee that the trust should not terminate on January 1, 1934, if the trustor was then *292  living, but should continue irrevocably in force until all its purposes were accomplished unless the trustor was living on January 1, 1938, in which event the trust should terminate and all the principal then in the hands of the trustee should be delivered to the trustor as his property.  This notice also revoked the provision contained in the modification of December 28, 1929, for the making of loans to the trustor, his wife, children, and grandchildren.  All of the income, both taxable and nontaxable, arising from trust No. 111 during the calendar year 1934 was distributed by the trustee to petitioner's wife, Grace L. Hoover, and in her personal income tax return for 1934 she reported all of such income and paid income tax thereon.  The trust for the benefit of Grace L. Hoover, No. 111, terminated on January 1, 1938, and the entire corpus then in the hands of the trustee was turned over to the trustor, petitioner.  On September 5, 1923, petitioner by four separate instruments created four separate trusts, transferring thereunder to*1030  the Geo. D. Harter Bank, as trustee, certain preferred and common stock for the benefit of petitioner's four children, the dates of birth of each child and the trusts created being as follows: Trust No. 113, for the benefit of Polly L. Hoover, born April 15, 1906.  Trust No. 114, for the benefit of Jane S. Hoover, born April 1, 1912.  Trust No. 112, for the benefit of H. W. Hoover, Jr., born April 23, 1918.  Trust No. 115, for the benefit of James C. Hoover, born Jan. 20, 1920.  The terms of the four trust instruments were substantially identical except for the names of the beneficiaries and, with certain extensions and modifications hereinafter mentioned, each continued in force and effect up to and throughout the taxable year 1934.  It will only be necessary to set forth the pertinent provisions of the instruments covering trust No. 115 for the benefit of James C. Hoover.  The original trust instrument of September 5, 1923, No. 115, for the benefit of petitioner's son, James C. Hoover, provided that the net income from the trust estate should accumulate and be invested as approved by the trustor during his lifetime, except that portion of such income as might be indicated*1031  by the trustor, during his lifetime, or after his death, by his wife or any guardian of James C. Hoover, for the support, maintenance, and education of his son during his son's minority and that the income not so used should accumulate and become a part of the principal of the trust; and that after his son became 21 the income from the trust fund was, upon his request, to be paid him for the remainder of his natural life.  The original trust instrument in trust No. 115 provided, further, that: "When my said son, James C. Hoover, arrives at the age of twenty-five (25) years, the Trustee shall pay or turn over to him, *293  in kind, the one-fourth (1/4) of the principal of said trust then in the hands of the Trustee, when he arrives at the age of thirty (30) years, the Trustee shall pay or turn over to him in kind the one-third (1/3) of the Trust Fund then in the hands of the Trustee, and when he arrives at the age of thirty-five (35) years, the Trustee shall pay or turn over to him in kind the one-half (1/2) of the Trust Fund then in the hands of the Trustee, and the remainder of said Trust Fund shall be held by said Trustee during the remainder of his natural life." The powers*1032  given the trustee under the original trust instrument in trust No. 115 were the same as the powers given the trustee in trust No. 111, for the benefit of Grace L. Hoover, and the rights reserved by the trustor were the same as the rights reserved by him in the Grace L. Hoover trust, with the express additional right to the trustor, while living, to approve or disapprove of any plan of merger, consolidation, reorganization, or refinancing of the Hoover Co.  The original trust instrument in trust No. 115 also contained the same provision as to the so-called "year and a day" trust as that contained in the Grace L. Hoover trust No. 111, as above set out.  It also contained the same provisions with regard to the restraint on alienating or encumbering their interests by the beneficiaries, as well as the same exculpatory clause protecting the trustee, as was contained in the Grace L. Hoover trust No. 111.  On December 28, 1929, the original trust instrument in trust No. 115 was modified, inter alia, in the same respects as those above set out with regard to the modification of the Grace L. Hoover trust No. 111 on the same date.  In addition, the modification also provided in lieu of*1033  the disposition of the income provided for in the original trust instrument that: "The entire net income * * * accruing up until said beneficiary arrives at the age of twenty-one (21) years, and all net capital gain up to said time, shall be paid by said Trustee quarterly, * * * into the trust created by said Trustor and known and designated as the 'JAMES C. HOOVER INCOME TRUST,' and said income shall be used and disposed of as in said Trust provided." The modification of trust No. 115 on December 28, 1929, also provided that: "At any time or times after said beneficiary arrives at the age of twenty-one (21) years, and prior to his arriving at the age of twenty-five (25) years, the beneficiary may make written request of the Trustee to pay or deliver to him in kind that part of said Trust Estate to which he would be entitled upon his arriving at the age of twenty-five(25) years, or he may request parts thereof from time to time, and upon said request or requests being approved in writing by Trustor's wife, * * * said Trustee is authorized and directed *294  to comply with any and of such requests.  Said Trustee is also authorized to comply with similar requests of the beneficiary*1034  made after he is twenty-five years of age, and before he arrives at the age of thirty (30) years for parts or all of the trust property coming to him when he is thirty (30) years of age, and when he is between the ages of thirty (30) and thirty-five (35) years of age, for parts or all of said trust property coming to him when he arrives at the age of thirty-five (35) years." On May 18, 1932, the trustor duly notified the trustee that the James C. Hoover trust should not terminate on January 1, 1934, if the trustor was then living but should continue irrevocably in force until all its purposes were accomplished unless the trustor was living on January 1, 1938, in which event the trust should terminate and all the principal then in the hands of the trustee be delivered to the trustor as his property.  This notice also revoked the provision contained in the modification of December 28, 1929, for the making of loans to the trustor, his wife, children, and grandchildren.  Pursuant to the provisions of the main, or principal, trust No. 113 created for the benefit of petitioner's daughter, Polly L. Hoover, that beneficiary, on July 12, 1933, withdrew one-fourth of the corpus of that trust, *1035  the property so withdrawn having a total value of $58,235.88; and also, in further pursuance of such provisions, the trustee, on December 31, 1934, delivered to Polly L. Hoover a full one-third of the remaining corpus of such trust, the property so delivered having a value of $64,757.26.  Pursuant to the provisions of the main or principal trust, No. 114, created for the benefit of Jane S. Hoover, one-fourth of the corpus of that trust was delivered to the beneficiary by the trustee on December 31, 1934, the property so delivered having a value of $66,279.17; and on April 16, 1937, the trustee, in further pursuance of the provisions of the trust instrument, delivered to Jane S. Hoover one-third of the remaining corpus, the corpus so delivered having a value of $82,110.03.  Polly L. Hoover was married on June 28, 1930, to Lawrence E. Connelly, Jr., and has since continuously resided with her husband, and Jane S. Hoover was married on June 17, 1936, to Scott Hill, and has since continuously resided with her husband.  All securities and property transferred to the various trusts created by the trustor and the securities and property subsequently acquired by all such trusts were*1036  at all times carried in the name of the trustee of the respective trust.  No loans were at any time made from any of the various trusts created by petitioner for the benefit of his wife and children to the petitioner or to any other person or persons.  *295  During the calendar year 1934 all the income, both taxable and nontaxable, of trusts Nos. 112, 113, 114, and 115, was paid over and distributed to the Geo. D. Harter Bank as trustee of each of the "income trusts" created by petitioner on December 28, 1929, for the benefit of each of his four children, as hereinafter shown.  The four trusts, Nos. 112 to 115, inclusive, for the benefit of petitioner's four children terminated on January 1, 1938, and on that date the corpus of each such trust was distributed in part to petitioner and in part to the trustee under new trust instruments executed by petitioner on December 24, 1937, as follows: Retained by the Geo. D. Harter Bank as trustee in the new trust instrument for the benefit of H. W. Hoover, Jr$134,208.10Turned over to petitioner336,327.46Retained by the Geo. D. Harter Bank as trustee in the new trust instrument for the benefit of Polly L. Hoover75,075.00Turned over to petitioner180,830.19Retained by the Geo. D. Harter Bank as trustee in the new trust instrument for the benefit of Jane S. Hoover75,075.00Turned over to petitioner162,396.47Retained by the Geo. D. Harter Bank as trustee in the new trust instrument for the benefit of James C. Hoover135,833.55Turned over to petitioner334,307.82*1037  On December 28, 1929, by four separate written instruments the petitioner created four separate "income trusts", hereinbefore mentioned, for the benefit of his four children, as follows: Trust No. 1013, for the benefit of Polly L. Hoover.  Trust No. 1014, for the benefit of Jane S. Hoover.  Trust No. 1012, for the benefit of H. W. Hoover, Jr.  Trust No. 1015, for the benefit of James C. Hoover.  The instruments creating each of those "income trusts" were identical in their terms and contents, except for the name of the beneficiary, and we use trust No. 1015 as an example, setting forth only the pertinent provisions thereof.  These provisions are: That the Geo. D. Harter Bank as trustee should "receive from time to time the income and net capital gain from the 'James C. Hoover Trust'"; that all funds or property so received "shall be held and administered as principal of this trust"; that after payment of all expenses the trustee should, from principal and income, "pay over to my wife, Grace L. Hoover, or any Guardian of the person of my son James C. Hoover, during his minority, such reasonable amounts as may be indicated by my wife or any such Guardian, for the support, *1038  maintenance and education of my said son"; that certain portions of the principal and income from the remaining portion should be paid to James C. Hoover after he arrived at the age of 21 years; and upon James C. Hoover's arriving at the age of 25 years the trustee should pay over to him all the property of the trust, which should then terminate.  It was further provided that should James C. Hoover die *296  before reaching 25 years of age the trust estate then remaining should be disposed of as directed in his will, or, if there was no such will, be delivered to the trustee of the "James C. Hoover Trust" if then in existence, and, if not, to continue to be held in trust for the benefit of James' lineal descendants or his brothers and sisters or their lineal descendants.  The trustee was given broad powers to manage, invest, and reinvest the money coming into his possession from the James C. Hoover trust No. 115 as the "principal of this trust" and was directed to accumulate the undistributed principal and income of the trust and to invest the same subject to the approval of the trustor during his lifetime.  The trustor reserved the right to change the trustee.  During the*1039  taxable year 1934 each of the four "income trusts" Nos. 1012, 1013, 1014, and 1015, received by distribution from main, or principal, trusts Nos. 112, 113, 114, and 115 all the income, both taxable and nontaxable, of the latter trusts, respectively.  During that year Herbert W. Hoover, Jr., and James C. Hoover were minors.  For the calendar year 1934 the Geo. D. Harter Bank as trustee for each of the "income trusts" Nos. 1012 and 1015, for the benefit of H. W. Hoover, Jr., and James C. Hoover, respectively, returned and paid taxes upon the income arising during that year from such "income trust" and the main, or principal, trusts Nos. 112 and 115, except upon the respective amounts of $1,253.37 and $1,299.13 distributed to or for the benefit of those minors, respectively.  As to the latter amounts returns were made in the names of those minors and taxes paid thereon.  For the calendar year 1934 and upon the direction and instruction of Grace L. Hoover, the petitioner's wife, the trustee of "income trusts" Nos. 1012 and 1015 paid the following amounts for the benefit of H. W. Hoover, Jr., and James C. Hoover, respectively: H. W. Hoover, Jr.James C. HooverTo Choate School, board, tuition, and books$1,738.68$1,757.31To Treas. Stark County, Ohio, personal property tax72.4390.17To. L. W. Newell, expenses of European trip3,100.00Total4,911.111,847.48*1040  Such total amounts so paid out by the trustee represented distributions of the following character: Trust No. 1012, H. W. Hoover, Jr.Trust No. 1015, James C. HooverTaxable income arising from the assets constituting the corpus of theincome trust$1,253.37$1,299.13Nontaxable income324.96353.84Distribution of principal of the income trust3,332.75195.51*297  The respondent has not included in petitioner's gross income for 1934 the income arising from "income trusts" Nos. 1013 and 1014, for the benefit of Polly L. Hoover and Jane S. Hoover, respectively, both of whom were of age during that year, and no question is raised here with respect to the petitioner's taxability on that income.  The respondent has included in petitioner's gross income for 1934 either all or some part of the income of "income trusts" Nos. 1012 and 1015, for the benefit of H. W. Hoover, Jr., and James C. Hoover, minors, respectively, during the calendar year 1934, as coming within the provisions of section 167 of the Revenue Act of 1934.  OPINION.  TYSON: Although respondent contends that sections 166 and 167 of the Revenue Act of 1934 are applicable here, *1041  he relies also on the decision of the United States Supreme Court in Helvering v. Clifford,309 U.S. 331"&gt;309 U.S. 331, which held section 22(a) of that act to be controlling on the facts there presented.  The question as to whether the 1934 income from the five trusts Nos. 111 to 115, both inclusive, is taxable to petitioner for that year under section 22(a) of the Revenue Act of 1934 was presented on the motion by petitioner for the enlargement of the record and the stipulation of facts submitted upon the granting of that motion and was so treated by both parties in oral argument and on brief.  On this question the facts show: That the various periods during which the trusts operated, under both the original trust instruments and their extensions and modifications, were short if the trustor was living at the end of each of such periods; that the trustor individually retained the right to control investments: that he individually retained the right to vote the stocks owned by the trust; that he individually retained the right at any time to appoint a trustee in lieu of the one named in the trust instruments and could, by the exercise of the latter right, appoint himself*1042  as trustee, thereby acquiring all the powers of the trustee in addition to his retained powers as trustor, thus becoming vested with all such control of the trust corpus as he had had as owner thereof prior to its conveyance in trust; and that there was a reallocation of income within a family group the members of which would be entitled to the property of the trustor should he die intestate.  It is also clearly indicated, although not so shown by direct testimony, that petitioner in creating the trusts was not without consciousness of their tax effect, as evidenced by the fact that the various trusts were from their incipience designed to endure for short periods only, provided the trustor was living at the expiration of those periods, and by the further fact *298  that the trust instruments provided for the payment out of the funds of the respective trusts of any tax which might be assessed against the trustor, petitioner, on the income from the trusts.  Cf. MacQueen Co. v. Commissioner, 67 Fed.(2d) 857; *1043 Raoul H. Fleischmann,40 B.T.A. 672"&gt;40 B.T.A. 672, 686. We are of the opinion, and so find, that the facts of record establish that petitioner continued to be the owner of the corpus of the five trusts Nos. 111 to 115, inclusive, for the purposes of section 22(a) of the Revenue Act of 1934, and that he is taxable on the income therefrom, under the broad provisions of that section, with the exception of the income from certain portions of the corpora of two of the trusts withdrawn in the taxable year by Polly L. Hoover and Jane S. Hoover, as is hereinafter set out.  Cf. Helvering v. Clifford, Jr., supra; City National Bank &amp; Trust Co. v. United States, 109 Fed.(2d) 191; Penn v. Commissioner, 109 Fed.(2d) 954; First National Bank of Chicago v. Commissioner, 110 Fed.(2d) 448; Cox v. Commissioner, 110 Fed.(2d) 934; Helvering v. Hormel, 111 Fed.(2d) 1; and Morton Stein,41 B.T.A. 994"&gt;41 B.T.A. 994. Having held that petitioner is taxable on the income from the five trusts Nos. 111 to 115, inclusive, under section 22(a), supra, it becomes unnecessary to consider whether*1044  or not he is taxable on such income under sections 166 and 167, supra.Under the terms of trust instruments Nos. 113 and 114, for the benefit of Polly L. Hoover and Jane S. Hoover, they each had the irrevocable right prior to January 1, 1938, to, at various times, withdraw certain fractional parts of the corpus of those trusts, contingent upon their attainment of certain ages and upon the approval of trustor's wife or one of his two brothers.  They had no fixed rights to so make any withdrawals after that date, since if the petitioner was then living the trust would terminate and the corpus would revert to him.  While similar rights to withdrawals, at certain ages, were also given James C. Hoover and Herbert W. Hoover, Jr., in the respective trusts of which they were the beneficiaries, such rights could not have been exercised by either of them prior to January 1, 1938, because neither would have attained the ages requisite to the exercise of such rights prior to that date.  They, consequently, did not have such rights to make withdrawals of corpus prior to January 1, 1938, as did Polly L. Hoover and Jane S. Hoover.  Under the terms of trust instrument No. 113, as stated in*1045  the paragraph next preceding, Polly L. Hoover, as the beneficiary thereof, withdrew on July 12, 1933, one-fourth of the corpus of that trust and on December 31, 1934, she withdrew one-third of the then remaining corpus.  Similarly, Jane S. Hoover, as beneficiary of trust *299  No. 114, withdrew on December 31, 1934, one-fourth of the corpus of that trust and on April 16, 1937, she withdrew one-third of the then remaining corpus.  It is assumed, in the absence of any proof to the contrary, that no part of the income on the one-fourth of the corpus withdrawn by Polly L. Hoover on July 12, 1933, was included by respondent in his computation of the deficiency herein.  We are however of the opinion, and so find, that the income attributable to those portions of the corpus in their respective trusts which were withdrawn by the two daughters in December 1934 is not taxable to petitioner, because, under the terms of the trust instruments providing for such withdrawals, petitioner throughout the taxable year 1934 had no control over such portions of the trust, since prior to January 1, 1934, the two daughters had attained the requisite ages entitling them to withdraw such portions, *1046  as they did, with the approval of their mother, the trustor's wife.  Accordingly, we hold that one-third of the income of trust No. 113 for the benefit of Polly L. Hoover and one-fourth of the income of trust No. 114 for the benefit of Jane S. Hoover, for the year 1934 are not taxable to the petitioner.  No issue has been raised herein as to whether petitioner is liable for any tax on the 1934 income from "income trusts" Nos. 1013 and 1014 for the benefit of Polly L. and Jane S. Hoover.  With reference to "income trusts" Nos. 1012 and 1015, for the benefit of H. W. Hoover, Jr., and James C. Hoover, minors, the facts show that they received as "principal" the 1934 distributions of income from the main trusts Nos. 112 and 115, and we have hereinabove held that income to be taxable to petitioner.  The facts do not disclose that "income trusts" Nos. 1012 and 1015 had any taxable income "arising from the assets constituting the corpus of the Income Trust" other than the amounts of $1,253.37 and $1,299.13, respectively, which were actually expended for the maintenance and education of the two minor beneficiaries pursuant to the terms of those trusts.  Having been so expended in discharge*1047  of a legal obligation of petitioner, it is clear that those stated amounts are taxable to petitioner for 1934 under the principle announced in Douglas v. Willcuts,296 U.S. 1"&gt;296 U.S. 1; Commissioner v. Grosvenor, 85 Fed.(2d) 2; Martin F. Tiernan, Trustee,37 B.T.A. 1048"&gt;37 B.T.A. 1048; petition for review dismissed June 12, 1939; E. E. Black,36 B.T.A. 346"&gt;36 B.T.A. 346; Alfred C. Berolzheimer,40 B.T.A. 645"&gt;40 B.T.A. 645; and Percy M. Chandler,41 B.T.A. 165"&gt;41 B.T.A. 165. This conclusion renders it unnecessary to consider whether the income of the four "income trusts" Nos. 1012 to 1015, inclusive, would be taxable to petitioner under the provisions of section 22(a), supra.Reviewed by the Board.  Decision will be entered under Rule 50.